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                                                   U.S. Department of Justice

                                                   Criminal Division



Appellate Section                                  Washington, D.C. 20530




                                                   August 15, 2023

Mark J. Langer
Clerk, U.S. Court of Appeals for the District of Columbia Circuit
E. Barrett Prettyman United States Courthouse
333 Constitution Avenue NW
Washington, DC 20001

                    Re:   United States v. Thomas Robertson, No. 22-3062
                          (Argued May 11, 2023)

Dear Mr. Langer:

       In a letter submitted pursuant to Federal Rule of Appellate Procedure 28(j),
defendant-appellant Thomas Robertson contends (Letter at 2) that the government’s
position in this case is inconsistent with the “position” in the indictment in United
States v. Trump, No. 23-cr-257, ECF No. 1 (D.D.C. Aug. 1, 2023). As an initial matter,
the letter does not comply with Rule 28(j) because an indictment in a different case
is not a “pertinent and significant” authority. Fed. R. App. P. 28(j).

       In any event, Robertson’s contention is flawed in several respects. First,
although the indictment in Trump charges a violation of 18 U.S.C. § 1512(c)(2), which
prohibits the corrupt obstruction of a congressional proceeding, the indictment’s
allegations do not set forth a “position” on the proper definition of “corruptly” for
purposes of Section 1512(c)(2). See Trump, supra, at ¶¶ 127-28 (incorporating prior
allegations and alleging a violation of Section 1512(c)(2) using the relevant statutory
language). Second, the language on which Robertson relies—namely, the allegation
that defendant Donald J. Trump “obstruct[ed] . . . the federal government function
through dishonesty, fraud, and deceit,” id. at ¶10—charges a violation of a different
federal statute, namely 18 U.S.C. § 371. As relevant here, Section 371 requires proof
that a defendant “interfere[d] with or obstruct[ed]” a lawful government function “by
deceit, craft or trickery, or at least by means that are dishonest.” Hammerschmidt v.
United States, 265 U.S. 182, 188 (1924). Finally, Robertson is incorrect that
“dishonesty and deceit are necessary to establish corrupt intent.” Robertson 28(j)
Letter at 2. Just as the improper-benefit theory that Robertson advocates (see Br. 12-
21) would be sufficient but not necessary to prove that a defendant acted “corruptly”
for purposes of Section 1512(c)(2), see Gov. Br. 35-39, so too would a theory that a
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defendant acted dishonestly, see Arthur Andersen LLP v. United States, 544 U.S. 696,
705-06 (2005); United States v. Gordon, 710 F.3d 1124, 1151 (10th Cir. 2013).

                                                Respectfully,

                                                 /s/ James I. Pearce
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                           CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing letter with the Clerk of
the Court for the United States Court of Appeals for the District of Columbia Circuit
by using the appellate CM/ECF system on August 15, 2023. I certify that all
participants in this case are registered CM/ECF users and that service will be
accomplished by the appellate CM/ECF system.

                                                s/ James I. Pearce
                                                James I. Pearce




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